






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00465-CV







In the Interest of K. R.








FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT

NO. 28,752, HONORABLE EDWARD P. MAGRE, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Robin Crystal Glass appeals the order terminating her parental rights to K. R. and
reaffirming the appointment of managing conservators for K. R.  Glass's attorney then moved to
withdraw as counsel, citing his inability to communicate effectively with Glass.  He asserted that he
sent a copy of that motion, as well as his amended motion to withdraw, to Glass's last known
address.  The trial court's clerk informed this Court that the trial court had instructed counsel to
contact Glass about the process for pursuing court appointment of counsel on appeal.  The trial court
clerk later informed this Court's clerk that the trial court had permitted counsel to withdraw, that
Glass had not requested appointment of counsel, and that none had been appointed for her.

		The clerk's record was filed October 6, 2004.  No reporter's record was filed. 
Because appeals from orders terminating parental rights are accelerated, Glass's brief was due
October 26, 2004.  Tex. Fam. Code Ann. § 109.002(a) (West 2002); Tex. R. App. P. 38.6(a)(1).  On
November 24, 2004, this Court's clerk sent a letter to Glass's last known address warning that this
appeal would be dismissed for want of prosecution unless, by December 10, 2004, Glass filed a brief
or reasonably explained her failure to file a brief.  The letter was not returned.  No brief or
explanation was filed.

		We grant counsel's motion to withdraw as counsel on appeal.  We dismiss this appeal
for want of prosecution.



						                                                                                    

						Bea Ann Smith, Justice

Before Justices B. A. Smith, Puryear and Pemberton

Dismissed for Want of Prosecution

Filed:   January 27, 2005


